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                          EXHIBIT C
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                    State of Florida
                   Department of State
    I certify from the records of this office that TELCOM VENTURES LLC is a
    limited liability company organized under the laws of the State of Florida, filed
    on June 12, 2006.

    The document number of this limited liability company is L06000060021.

    I further certify that said limited liability company has paid all fees due this
    office through December 31, 2025, that its most recent annual report was filed
    on February 7, 2025, and that its status is active.




                                                          Given under my hand and the
                                                          Great Seal of the State of Florida
                                                          at Tallahassee, the Capital, this
                                                          the Seventh day of February, 2025




                       Tracking Number: 2508131991CR

                       To authenticate this certificate,visit the following site,enter this number, and then
                       follow the instructions displayed.

                       https://services.sunbiz.org/Filings/CertificateOfStatus/CertificateAuthentication
